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    In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                             No. 15-749V
                                         Filed: March 4, 2016
                                           UNPUBLISHED
*********************************
GARY BONDI,                                                 *
                                                            *
                           Petitioner,                      *
                  v.                                         *
                                                             * Attorneys’ Fees and Costs; Reasonable
SECRETARY OF HEALTH                                          * Amount Requested to Which
AND HUMAN SERVICES,                                          * Respondent Does Not Object
                                                             *
                           Respondent.                       *
                                                             *
****************************
John Robert Howie, Jr., Howie Law, P.C., Dallas, TX, for petitioner.
Gordon Elliot Shemin, U.S. Department of Justice, Washington, D.C., for respondent.


                        DECISION ON ATTORNEYS’ FEES AND COSTS 1

Roth, Special Master:

        On July 17, 2015, Gary Bondi filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 [the “Vaccine Act”].
Petitioner alleged that he developed Guillain-Barré Syndrome as a result of an influenza (“flu”)
vaccine he received on or about September 26, 2013. Petition at 1. On March 4, 2016, the
undersigned issued a decision awarding compensation to petitioner based on respondent’s
proffer. Decision, ECF No. 27.

       On March 3, 2016, petitioner filed a motion for attorneys’ fees and costs. Motion, ECF
No. 25. Petitioner requests $26,477.00 in attorneys’ fees and $6,347.02, in costs for a total of
$32,824.02. Id. at 1. In compliance with General Order #9, petitioner states that he incurred no


1 Because this unpublished decision contains a reasoned explanation for the action in this case, the undersigned
intends to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, codified as amended at 44 U.S.C. § 3501 note (2012). In accordance with Vaccine Rule
18(b), petitioners have 14 days to identify and move to redact medical or other information, the disclosure of which
would constitute an unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified
material fits within this definition, that material will be removed from public access.

2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease of
citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa (2006).
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out-of-pocket expenses. Petitioner’s counsel represents that respondent does not oppose this
request. Id.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs. 42 U.S.C. §
300 aa-15(e). Based on the reasonableness of petitioner’s request and the lack of opposition, the
undersigned GRANTS petitioner’s application for attorneys’ fees and costs.

        Accordingly, the undersigned awards the total amount of $32,824.02, as a lump sum
in the form of a check payable jointly to petitioner, Gary Bondi, and petitioner’s counsel,
John R. Howie, Jr.

       The clerk of the court shall enter judgment in accordance herewith. 3
IT IS SO ORDERED.

                                                              s/Mindy Michaels Roth
                                                              Mindy Michaels Roth
                                                              Special Master




3
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to seek review. See
Vaccine Rule 11(a).
